Case 2:03-cv-02409-.]PI\/|-tmp Document 246 Filed 05/18/05 Page 1 of 2 Page|D 159

 
 
  
  

IN THE UNITED sTATEs DIsTRICT CoUR
FoR THE WESTERN DIsTRIcT 0F TENNE§_.sE,E l
WESTERN DIvIsIoN m * ‘” ’

REBECCA H. TREACE,
Plaintiff,
v.

Civil Aotion No. 03-2409 Ml

UNUM LIFE INSURANCE COMPANY
OF AMERICA,

\_/\~_/\._/\_,/\_/\_/\_/\.,/\._/\._/

Defendant.

 

"r 114 f
-[-P-RGPGSEB] ()RDER SETTING ORAL ARGUMENT ON PLAINTIFF'S SECOND
RENEWED MOTION FOR SANCTIONS

 

lt appearing that the parties agree that oral argument Will materially assist this Court's
resolution of the issues raised by Plaintifi°s Second Renewed Motion for Sanctions, and the
Court finding that oral argument Would be helpful;

IT lS THEREFORE ORDERED, for good cause shown, that the parties shall appear for

oral argument regarding the issues raised by Plaintiff‘s Second Renewed Motion for Sanotions on

MLLJ ij ,2005,atthe followingtime: {:3<3@,.,\,,
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B`rarre¥eseeve~"l`u M- P¢r~‘\w\_
United States Magistrate Judge

This document entered on the docket sheet In compliance
with Ru!e 58 and/or ?9{a) FHCP on "

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James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/1emphis7 TN 38103

R. Scott Vincent

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis
254 Court Ave.

Second Floor

1\/1emphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

.1 ohn W. Campbell

HUSCH & EPPENBERGER
200 .1 efferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Bradley W. Eskins
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

